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   16                             UNITED STATES DISTRICT COURT
   17               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   18
   19 YONNEDIL CARROR TORRES,                          CASE NO. 2:20-cv-04450-CBM-PVCx
      et al.,
   20                                                  PETITIONERS’ SUPPLEMENTAL
                  Plaintiff-Petitioners,               BRIEF IN SUPPORT OF MOTION
   21                                                  REGARDING RESPONDENTS’
              vs.                                      NON-COMPLIANCE WITH THE
   22                                                  COURT’S PRELIMINARY
      LOUIS MILUSNIC, in his capacity as               INJUNCTION
   23 Warden of Lompoc, et al.,
                                                       Matters referred to Hon. Pedro V.
   24                     Defendant-Respondents.       Castillo
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                    PETITIONERS’ SUPPLEMENTAL BRIEF REGARDING RESPONDENTS’ NON-COMPLIANCE
                                          WITH PRELIMINARY INJUNCTION
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    1 I.            INTRODUCTION 1
    2               Although the 285 Inmates in the Data have no demerits in the majority of the
    3 categories of information identified in the Review Worksheets, each were denied
    4 home confinement. The Data unambiguously support the evidence Petitioners have
    5 previously submitted that those denials were largely, if not exclusively, due to
    6 Respondents’ use of improper categorical barriers. (Dkt. No. 169 at 12-14.) The
    7 Data further show Respondents deny home confinement for a host of other improper
    8 reasons too. The most egregious are denials on the basis Respondents do not
    9 consider inmates to be old or vulnerable enough, but there are more issues than there
   10 is space to fully discuss them here. 2 See Section V.
   11               In short, the Data show Respondents are violating the Preliminary Injunction
   12 and that the relief sought is warranted.
   13 II.           “TIME SERVED” IS A CATEGORICAL BARRIER
   14               Within the 285 Inmates in Exhibit A, “Time Served” is a reason given for
   15 denying home confinement to 210—74%.3 37 of those 210 inmates have served
   16 more than 50% of their sentence, and 7 have served more than two thirds. One
   17 inmate, No. 259, has served 82.3% of his sentence and has a LOW PATTERN
   18 Score, but was still denied. Importantly, 66 of those 210 inmates were denied home
   19 confinement based on “Time Served” alone. 4 Exhibit B.5
   20
        1
         Capitalized terms have the same meaning as in the related data submission.
   21 References to Exhibits are references to the Exhibits to the related data submission.
   22 2 For example, Nos. 11, 114, and 281 each were denied home confinement in part
      based on disciplinary infractions. But since those disciplinary infractions each
   23
      occurred more than 1 year ago, the applicable guidance says they are irrelevant.
   24 3 “Time Served” includes those denied for not serving enough time, having a
   25 distant projected release date, and where there was a public safety factor of sentence
      length. There does not appear to be a principled distinction between these reasons.
   26 4
         33 of those 66 inmates have a MINIMUM PATTERN, remainder are LOW.
   27 5
         A further four inmates (Nos. 28, 142, 253, and 262) were denied home
   28 confinement on the basis of “Time Served” in combination with their “Age” or “No
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    1        Two inmates are particularly illustrative of Respondents’ use of time served
    2 as a categorical barrier; Nos. 83 and 181. Both have served 64.2% of their
    3 sentences, have no violent, sexual, or terrorism offenses, are in minimum and low
    4 security, have no public safety factors or gang affiliations, have MINIMUM
    5 PATTERN scores, no disciplinary history, no history of escape, and complete
    6 release plans, but were denied on the sole basis of “Time Served.”
    7        Petitioners anticipate Respondents will contend time served is just one of
    8 many factors and that each review is based on the totality of circumstances. As Nos.
    9 83 and 181 prove, however, that is mere sophistry. Time served is unquestionably a
   10 categorical barrier, which is improper and a violation of the Preliminary Injunction
   11 for those reasons stated in Petitioners’ briefing. (Dkt. No. 169 at 17-20.)
   12 III.   RESPONDENTS USE OLD VIOLENT AND TERRORISM
   13        CONVICTIONS AS CATEGORICAL BARRIERS
   14        23 of the 285 Inmates were denied in whole or in part on the basis they had a
   15 “History of Violence” or “Prior Terrorism Offense.” Exhibit C. The information in
   16 the Review Worksheets does not show, however, that any of those 23 inmates
   17 committed any violent or terror offenses within the past ten years. For example, No.
   18 93 committed a violent offense “greater than 15 years” ago and No. 141, who is now
   19 43, committed a violent offense while a juvenile. Disturbingly, Nos. 61, 204, 207,
   20 210, and 218 were denied home confinement on the basis of “History of Violence,”
   21 but no violent offense was noted in their Review Worksheets at all.
   22        Although the guidance does not permit Respondents to use such ancient,
   23 completed sentences as a barrier to home confinement, the Data shows that is how
   24 Respondents are using them. This is yet another example of Respondents’ failure to
   25 comply with the Preliminary Injunction. (Dkt. No. 169 at 20-21.)
   26
   27
      Underlying Conditions.” As set out below, neither of those reasons can justify
   28 denying home confinement to class members. See Section IV.A.
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    1 IV.     RESPONDENTS USE “PATTERN” AS A CATEGORICAL BARRIER
    2         “PATTERN” was a reason for denying home confinement to 141 of the 285
    3 Inmates—49%. Of those 141 inmates, 36 had a PATTERN score of LOW. Exhibit
    4 D. In fact, “PATTERN” was the sole reason for denying eight inmates, one of
    5 which, No. 81, had a LOW PATTERN score and is due to be released in less than
    6 two weeks. That “PATTERN” score alone is used to deny home confinement shows
    7 that Respondents are using it as a categorical barrier. For all those reasons stated in
    8 Petitioners’ briefing, that is improper. (Dkt. No. 169 at 21-22.)
    9         Further supporting that PATTERN is an improper categorical barrier is
   10 Respondents’ capricious and irrational reference to it. Although 106 of the 285
   11 Inmates have LOW PATTERN scores, only 36 had PATTERN noted as a basis for
   12 denying them home confinement. 6 If a LOW PATTERN score is not a basis for
   13 denying one inmate, it is plain that it is not a basis for denying another.7
   14 V.      THE DATA SHOWS RESPONDENTS APPLY A HOST OF OTHER
   15         INAPPROPRIATE BARRIERS TO HOME CONFINEMENT
   16         The Data further shows that Respondents are using a wide range of other
   17 inappropriate considerations to deny home confinement. Although not the focus of
   18 Petitioners’ Motion, they support that Respondents are failing to comply with the
   19 Preliminary Injunction’s mandate to make “full and speedy use of their authority
   20 under the CARES Act” to maximize transfers to home confinement suitable inmates
   21 who were at risk of severe illness or death from COVID-19. (Dkt. No. 45 at 49.)
   22         A.    Respondents Deny Home Confinement Based On “Age”, “No
   23               COVID Risk Factors”, And “No Underlying Conditions”
   24         The Preliminary Injunction provisionally certified a class of individuals
   25 comprising “all current and future people in post-conviction custody at FCI Lompoc
   26
        6
   27      Filtering Column R for “LOW” identifies 106 inmates. Filtering that data by
      selecting in Column W denials without “PATTERN” results in 70 inmates.
   28 7 In fact, 8 inmates granted home confinement had a LOW PATTERN score.
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    1 and USP Lompoc over the age of 50, and all current and future people in post-
    2 conviction custody at FCI Lompoc and USP Lompoc of any age” with certain
    3 underlying health conditions. (Dkt. No. 45 at 48.) Although Respondents identified
    4 all 285 Inmates as class members, they denied home confinement to 20 inmates in
    5 whole or in part on the basis of “Age,” “No COVID Risk Factors,” or “No
    6 Underlying Conditions.” Exhibit E. In fact, No. 84 was denied solely on the basis
    7 Respondents contend he has “No COVID Risk Factors,” when his very presence in
    8 the class shows he is at risk. These denials are an affront to the Preliminary
    9 Injunction that conclusively prove that Respondents are violating it.
   10        B.     Misuse Of Criminal History To Deny Home Confinement
   11        Exhibit F identifies 22 inmates denied on the basis of their criminal past
   12 notwithstanding that they did not commit violent, sexual, or terrorism related
   13 offenses. None of the applicable guidance supports such prior offenses even being
   14 considered, let alone forming the basis for a categorical denial of home confinement.
   15 (Dkt. No. 169-2, Exs. 2-6.) Respondents’ baseless use of such prior convictions to
   16 deny home confinement is yet another violation of the Preliminary Injunction.8
   17        C.     Respondents Deny Home Confinement On Other Irrelevant Bases
   18        The Data also show that Respondents are looking for any reason they can to
   19 deny home confinement, no matter its relevance. For example, inmates were denied
   20 because of acts by their spouse (No. 5), because it would “diminish seriousness of
   21 offense” (No. 108), and because they had “close ties to Mexico” (No. 185).9 These
   22 highly dubious reasons are simply not relevant under the applicable guidance.
   23        D.     Denials Based On “Seriousness Of Current Offense”
   24        The “Seriousness of the Current Offense” is not a metric tracked in the
   25
        8
           To the extent Respondents contend prior offenses show a likelihood of an inmate
   26 re-offending, that is the precise function of the PATTERN score. In any event, 6 of
   27 these 22 inmates have MINIMUM PATTERN scores, and 7 more have LOW.
      9
           Nos. 21, 32, 49, 54, 77, 229, and 254 were similarly denied home confinement
   28 on suspiciously weak bases.
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    1 Review Worksheets and there appears to be no standardized way for evaluating that
    2 information. Yet, 34 inmates were denied in whole or in part on the basis of
    3 “Seriousness of Current Offense.” These denials are questionable at best. For
    4 example, No. 69 was denied solely on the basis of the seriousness of his offense,
    5 which was a $3.6m fraud. No. 247 was denied in part due to seriousness of his
    6 offense, which was “laundering at least $4m in drug money.” Without wishing to
    7 minimize these offenses, they do not appear to justify continuing to expose these
    8 vulnerable inmates to the risk of serious harm from COVID-19.
    9         E.    Denials Because Inmate “Needs Relocation” Are Improper
   10         18 of the 285 inmates were denied home confinement in whole or in part on
   11 the basis “Needs Relocation.” Respondents themselves, however, have made it
   12 clear that relocation is not a barrier to home confinement, it merely means that that
   13 process might take more time. (See, e.g., Dkt. No. 174 at 5-7 (relocation is not a
   14 barrier to home confinement, it merely takes time to resolve).) Since the need for
   15 relocation is indisputably not a barrier to home confinement, Respondents’ denial of
   16 home confinement to 18 inmates on the basis they need relocation is unjustifiable.
   17         F.    Denials Based On Alleged Gang Affiliation Are Improper
   18         Finally, although 52 of the 285 Inmates have alleged “Gang” affiliations, only
   19 32 were denied home confinement on that basis. 10 Just as Respondents’ inconsistent
   20 use of LOW PATTERN score to deny home confinement shows that is not a
   21 genuine basis for denial, so too does Respondents’ inconsistent use of alleged gang
   22 affiliation show that is not a genuine reason for denying home confinement either. 11
   23 VI.     CONCLUSION
   24         The Data show Respondents’ improper use categorical barriers, capricious
   25 and irrational use of data, and failure to comply with the Preliminary Injunction.
   26 For those reasons stated above, together with those in Petitioners’ prior briefing,
   27
        10
             Two are not gangs: “History of Fraud” (No. 68), “Explosives Expert” (No. 77).
   28   11
             10 inmates denied on the basis of “Gang” had LOW or MINIMUM PATTERN.
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    1 Petitioners’ Motion should be granted.
    2 DATED: March 26, 2021                     Respectfully submitted,
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   12                                           By:         /s/ Oliver Rocos
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